       Case 1:20-cv-00740-KG-JFR Document 18 Filed 11/05/20 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW MEXICO


GEORGE VIGIL,

       Plaintiff,

vs.                                          Cause No.: 20-CV-00740 KG/JFR

JOSEPH AQUINO AND
RIO ARRIBA SHERIFF’S OFFICE

       Defendants.


                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 5th day of November 2020, Defendant Rio

Arriba Sheriff’s Office’s Initial Disclosures were emailed to Pro Se Plaintiff as listed below:


George Vigil
Post Office Box 494
Chimayo, NM 87522
(505) 369-2402
Kinggeorge240@gmail.com
Pro Se Plaintiff

                                     Respectfully submitted

                                     BRENNAN & SULLIVAN, P.A.



                              By:    /s/ Gabriela M. Delgadillo
                                     Gabriela M. Delgadillo
                                     James P. Sullivan
                                     128 East DeVargas
                                     Santa Fe, New Mexico 87501
                                     (505) 995-8514
                                     james@brennsull.com
                                     gabriela@brennsull.com
                                     Attorneys for Defendant Rio Arriba Sheriff’s Office
       Case 1:20-cv-00740-KG-JFR Document 18 Filed 11/05/20 Page 2 of 2




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 5th day of November 2020, I filed the foregoing

electronically through the CM/ECF system, and served the same via email to the following:

George Vigil
Post Office Box 494
Chimayo, NM 87522
(505) 369-2402
Kinggeorge240@gmail.com
Pro Se Plaintiff


                             By:    /s/ Gabriela M. Delgadillo
                                    Gabriela M. Delgadillo




                                              2
